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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

GORDON WILDER : CIVIL ACTION
Plaintiff ;
NO. 17-1158
v.

WELLS FARGO & COMPANY LONG
TERM DISABILITY PLAN, et al.
Defendants
ORDER
AND NOW, this gh day of November 2017, upon notification that the issues between

Plaintiff and Defendants have been settled, it is hereby ORDERED that all claims against
said Defendant are DISMISSED with prejudice, pursuant to the agreement of the parties. To
conform to Local Rule of Civil Procedure 41.1(b), the Clerk of Court is directed to enter this
Order and to mark this case closed.

BY THE COURT:

/s/ Nitza I. Quifiones Alejandro

NITZA I. QUINONES ALEJANDRO
Judge, United States District Court
